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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

ROTHSCHILD & CO
CONTINUATION HOLDINGS A.G.,
ROTHSCHILD & CO NORTH                   Case No.
AMERICA INC., ROTHSCHILD &
CO US INC., and ROTHSCHILD &            JURY TRIAL DEMANDED
CO ASSET MANAGEMENT US INC.,

                 Plaintiffs,

     v.

VAL SKLAROV, BENTLEY
ROTHSCHILD CAPITAL LIMITED,
a Georgia corporation, BENTLEY
ROTHSCHILD CAPITAL LIMITED,
a St. Kitts and Nevis entity, BENTLEY
ROTHSCHILD FINANCIAL LLC, a
Wyoming limited liability company,
AMERICA 2030 CAPITAL, LLC, a
Colorado limited liability company,
AMERICA 2030 CAPITAL LIMITED,
a Colorado corporation, BLACK
ROCK CAPITAL LLC, a Bahamian
limited liability company, and XYZ
CORPORATION (1-10 fictitious
names),

                 Defendants.




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   COMPLAINT FOR TRADEMARK INFRINGEMENT, TRADEMARK
    DILUTION, UNFAIR COMPETITION, INJUNCTIVE RELIEF AND
                         DAMAGES
      Plaintiffs Rothschild & Co Continuation Holdings AG (“R&CoCH”),

Rothschild & Co North America Inc. (“R&CoNA”), Rothschild & Co US Inc.

(“R&CoINC”), and Rothschild & Co Asset Management US Inc. (“R&CoAM”)

(collectively, the “Rothschild & Co Plaintiffs”), by their attorneys, DLA Piper LLP

(US), for their Complaint for trademark infringement, trademark dilution, unfair

competition, injunctive relief and damages against the above-named defendants,

allege as follows:

                                    Introduction
      1.      The Rothschild & Co Plaintiffs are part of the Rothschild & Co Group,

which provides financial services throughout the world. The Rothschild & Co

Group is controlled by members of the well-known and world famous Rothschild

Family, as described in detail below. The Rothschild & Co Plaintiffs conduct

financial services businesses throughout the United States and the world, and have

established valuable goodwill and reputation in famous trademarks containing

“Rothschild.” The “Rothschild” name is one of the strongest and most respected in

the world for financial services.




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      2.      The Rothschild & Co Plaintiffs are the registered owner or are licensees

of two United States registered trademarks, ROTHSCHILD and ROTHSCHILD &

CO, and have used those trademarks extensively in offering and providing financial

services to the public in the United States.

      3.      Defendant Val Sklarov (“Sklarov”) is a Georgia resident who has been

previously convicted of Medicare fraud and money laundering, and has served time

in federal prison. He has also been found to be a cybersquatter who has registered

domain names containing third-party financial trademarks in bad faith.

      4.      Upon information and belief, defendants Bentley Rothschild Capital

Limited, a Georgia corporation (“BRC GA”), Bentley Rothschild Capital Limited, a

St. Kitts and Nevis corporation (“BRC SK”), Bentley Rothschild Financial LLC

(“BRF”), Black Rock Capital LLC (“Black Rock”), America 2030 Capital, LLC

(“Am LLC”), and America 2030 Capital Limited (“Am Ltd”) (collectively the

“Sklarov Corporate Defendants”), are entities created by or at the direction of

Sklarov. Upon information, Sklarov has used and is using the Sklarov Corporate

Defendants, and other entities whose identities are as yet unknown to the Rothschild

& Co Plaintiffs, and are sued herein as XYZ Corporation, as vehicles to commit

trademark infringement, fraud, and other violations of the rights of third parties.




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      5.      As detailed below, Sklarov, acting through and together with the

Sklarov Corporate Defendants (collectively, the “Sklarov Defendants”) is carrying

out a scheme of deception of the public and willful infringement of the Rothschild

& Co Plaintiffs’ valuable intellectual property rights in the ROTHSCHILD and

ROTHSCHILD & CO trademarks, and wrongfully trading upon the goodwill

associated with those marks and the reputation of the Rothschild & Co Group and

Rothschild Family. The Sklarov Defendants have carried out this scheme by, among

other things, (a) creating companies with “Bentley Rothschild” in their corporate

names, including defendants BRC GA, BRC SK, and BRF, (b) through these

companies, offering and providing to the public purported financial services, many

of which appear to be the same or similar to those offered by the Rothschild & Co

Plaintiffs, under the confusingly similar mark BENTLEY ROTHSCHILD, (c)

offering    “Bentley   Rothschild”   financial   services   through   the   website

www.bentleyrothschild.com (the “Infringing Website”), and (d) in claiming that

“Bentley Rothschild” is associated with or functions in the tradition of the famous

Rothschild Family. In fact, no one in the Rothschild Family, and upon information

and belief, no one named “Bentley Rothschild” or having the surname “Rothschild,”

has any connection with the Sklarov Defendants.




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      6.      As detailed below, the acts of the Sklarov Defendants infringe the

Rothschild & Co Plaintiffs’ registered and common-law trademarks, are likely to

result in confusion and deception among potential consumers of financial services,

and the false belief that BRC and BRF are affiliated or associated with, or sponsored

or endorsed by, the Rothschild & Co Plaintiffs, dilute through tarnishment the

Rothschild & Co Plaintiffs’ registered trademarks, constitute unfair competition, and

constitute unfair and deceptive trade practices. As a consequence of the Sklarov

Defendants’ wrongful activities, the Rothschild & Co Plaintiffs are suffering

irreparable harm which will continue unless enjoined by this Court.

                               Nature of the Action
      7.      This is an action for federal trademark infringement, trademark

dilution, and unfair competition under the Trademark Act of 1946, as amended, 15

U.S.C. § 1051 et seq. (“Lanham Act”); for trademark dilution under the Georgia

anti-dilution act, O.C.G.A. § 10-451; for unfair and deceptive trade practices under

O.C.G.A. § 10-1-370 et seq.; for unfair competition under O.C.G.A. § 23-2-55; and

for trademark infringement and unfair competition under the common law of

Georgia.




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                                      Parties
      8.       Plaintiff R&CoCH is a joint stock company organized under the laws

of Switzerland, located and doing business at Baarerstrasse 95, Zug 6300,

Switzerland.

      9.       Plaintiff R&CoNA is a corporation organized under the laws of

Delaware, located and doing business at 1251 Avenue of the Americas, New York,

New York 10020-1104.

      10.      Plaintiff R&CoINC is a corporation organized under the laws of

Delaware, located and doing business at 1251 Avenue of the Americas, New York,

New York 10020-1104.

      11.      Plaintiff R&CoAM is a corporation organized under the laws of New

York, located and doing business at 1251 Avenue of the Americas, New York, New

York 10020-1104.

      12.      Upon information and belief, Defendant Val Sklarov is a resident of

Georgia, with a personal domicile at 142 Gold Springs Court, Canton, Georgia,

30114, and conducts business at 1301 Shiloh Rd., NW, Kennesaw, Georgia, 30144.

      13.      Upon information and belief, Sklarov caused Defendant BRC GA to be

organized. Upon information and belief, BRC GA is a corporation organized under

the laws of Georgia with a principal office address of 1301 Shiloh Rd., NW,

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Kennesaw, Georgia, 30144 or 1201 W. Peachtree Street, Suite 2300, Atlanta,

Georgia. Upon information and belief, Sklarov is listed as BRC GA’s CEO, CFO,

and Secretary. Upon information and belief, Sklarov also caused BRC SK, another

entity by the name “Bentley Rothschild Capital Limited,” to be organized and/or

registered in St. Kitts and Nevis.

      14.    Upon information and belief, Sklarov caused Defendant BRF to be

organized.   Upon information and belief, BRF is a limited liability company

organized under the laws of Wyoming with a principal office address of 736 Western

Avenue, Suite 301, Lake Forest, Illinois, 60045.

      15.    Upon information and belief, Sklarov caused Defendant Black Rock to

be organized. Upon information and belief, Black Rock is a limited liability

company organized under the laws of Bahamas with a principal office address of

Old Fort #4, Western Road, SP-63 771, Nassau, New Providence, Bahamas. Black

Rock is listed on the online records of the USPTO as the record owner of U.S.

Trademark Application No. 88457938 for “BENTLEY ROTHSCHILD” filed on

June 3, 2019 claiming various financial services in International Class 036. A copy

of a printout of the application taken from the www.uspto.gov website, is attached

as Exhibit A (the “’938 Application”). The ‘938 Application was signed on June 3,

2019 by JT Singh (a/k/a Jaitegh Singh, Esq.) on behalf of Black Rock as its “General

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Counsel,” under 15 U.S.C. § 1051(b). Upon information and belief, Singh also

functions as Sklarov’s personal and business attorney.

      16.    Upon information and belief, Sklarov caused Defendant Am LLC to be

organized. Upon information and belief, Am LLC is a limited liability company

organized under the laws of Colorado with a principal office address at 1301 Shiloh

Road NW, Suite 1231, Kennesaw, Georgia, 30144.

      17.    Upon information and belief, Sklarov caused Defendant Am Ltd to be

organized. Upon information and belief, Am Ltd is a corporation organized under

the laws of Colorado with a principal office address at 1201 West Peachtree Street,

Suite 2300, Atlanta, Georgia, 30309.

      18.    Upon information and belief, Sklarov has directed, controlled, ratified,

participated in, and/or was the moving force behind all infringing and unlawful acts

and activities alleged herein, and is therefore personally liable for such infringement.

      19.    Upon information and belief, Sklarov exercises dominion and control

over BRC GA, BRC SK, BRF, Black Rock, Am LLC and Am Ltd, and disregards

the separateness of those legal entities to such an extent that this these entities are

used by Sklarov as a mere instrumentality for Sklarov to perpetrate his unlawful and

fraudulent schemes, as described below, and to evade liability for his acts. Upon

information and belief, all acts undertaken through the Sklarov Corporate

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Defendants, including the infringing and wrongful acts alleged herein, were directed

by Sklarov.     As such, the independent existence of those entities should be

disregarded by the Court, rendering such entities subject to this Court’s personal

jurisdiction if they are not otherwise subject, and rendering Sklarov personally liable

for acts purportedly undertaken through such corporate entities.

      20.     Defendants XYC Corp. 1-10 are corporations, limited liability

companies, partnerships, limited partnerships, or another form of limited liability

entity which, upon information and belief, are owned or controlled by Sklarov,

directly or through one or more of the other Sklarov Corporate Defendants. At

present, Rothschild & Co Plaintiffs are unable to provide additional details

concerning the identity or existence of these fictitious defendants, but expects to be

in a position to do so in the future following discovery, and at that time will amend

or supplement this Complaint.

                              Jurisdiction and Venue
      21.     This Court has jurisdiction over this case under 28 U.S.C. §§ 1331 and

1338 and 15 U.S.C. § 1121(a) because plaintiffs’ claims arise under the Lanham Act,

15 U.S.C. §1051 et seq. The court should also exercise supplemental jurisdiction

over plaintiffs’ state law claims under 28 U.S.C. § 1367(a), because those claims are




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substantially related to the federal claims such that they form part of the same case

or controversy.

      22.    This Court also has jurisdiction over this action under 28 U.S.C.

§1332(a) because it is between citizens of different States and in which citizens or

subjects of a foreign state are additional parties, and the amount in controversy,

exclusive of interest and costs, exceeds $75,000.00.

      23.    This Court has general and specific personal jurisdiction over Sklarov

because he is a resident of Georgia and is domiciled in this judicial district. Upon

information and belief, Sklarov has also engaged in the infringing and unlawful

activities that are the subject of this action within Georgia and this judicial district,

and has directed the activities of the other Sklarov Defendants while within the State

of Georgia and this judicial district.

      24.    This Court has general and specific personal jurisdiction over BRC GA,

which is a Georgia corporation with a principal office address within this judicial

District and does business within Georgia. Upon information and belief, BRC GA

has also engaged in the infringing and unlawful activities that are the subject of this

action within the State of Georgia and this judicial district.

      25.    This Court has general and specific personal jurisdiction over the other

Sklarov Corporate Defendants because they are alter egos of Sklarov, over whom

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the Court has general and specific jurisdiction. Moreover, the Court has specific

jurisdiction over the other Sklarov Defendants in that they have worked in concert

with and have been directed by Sklarov to engage in the infringing and unlawful

activities that are the subject of this action. Further, upon information and belief,

the other Sklarov Corporate Defendants have committed acts of trademark

infringement and unfair competition during the course of business in this judicial

District.

       26.     Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b),

28 U.S.C. § 1391(c) and Local Rule 3.1(B).

                            Facts Common To All Claims

History of the Rothschild Family and the Rothschild & Co Group

       27.     The Rothschild & Co Plaintiffs are part of the Rothschild & Co Group,

which provides financial services throughout the world. The Rothschild & Co

Group is controlled by members of the famous Rothschild Family, who trace their

common ancestry (through the male line) to Mayer Amschel Rothschild (1744-

1812).      Mayer Amschel Rothschild’s five sons established themselves in five

separate cities, Paris, London, Vienna, Frankfurt and Naples.            The dispersed

branches of the Rothschild Family proved extraordinarily successful, and the

Rothschild Family grew to great prominence and wealth. They achieved renown as


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one of the most important and successful banking families in the world. Rothschild

ventures have financed Wellington’s armies, the Gold Rush, the acquisition of the

Suez Canal, the early development of railroads in the United States and England, the

search for oil, and mining of base (ore) metals such as copper and nickel. Over two

centuries, the Rothschild banking and financial businesses have adapted and evolved

so that they are now involved in many aspects of financial services, including

finance, privatization, securities, asset management, mergers and acquisitions,

restructuring and reorganization, private placements, project finance, private equity,

wealth management, and venture capital.

      28.    In addition to the activities of the Rothschild & Co Plaintiffs in the

United States described below, the ROTHSCHILD Marks, as alleged below, have

become famous in part due to the public’s long-standing association between the

Rothschild Family and the financial services provided by the Rothschild & Co Group

and predecessor entities. The Encyclopedia Britannica, for example, states that

ROTHSCHILD is “the most famous of all European banking dynasties.”

https://www.britannica.com/topic/Rothschild-family (last accessed July 28, 2019).

      29.    Near the end of the 18th century, Nathan Mayer Rothschild, one of the

sons of Mayer Amschel Rothschild, settled in England. After his death in 1836, his

sons changed the name of the financial business in England to N M Rothschild &

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Sons, a partnership. In 1970, the business was incorporated and used the name N M

Rothschild & Sons Limited. N M Rothschild & Sons Limited is today a member of

the Rothschild & Co Group.

      30.    Following the Panic of 1837 in the United States, which led to a five-

year depression in the United States, an agent of the Rothschild Family, August

Belmont, settled in New York as the American representative of the Rothschild

interests and conducted business on their behalf.

      31.    The first United States financial business established by the Rothschild

Family was Amsterdam Overseas Corporation, jointly controlled by the English and

French branches of the Rothschild Family. The business grew and was reorganized

as an investment bank under the name New Court Securities Corporation in 1967.

The business continued to grow, and in 1982 was again reorganized under the name

Rothschild Inc. Rothschild Inc. changed its name to Rothschild & Co US Inc. in

2018, and is a member of the Rothschild & Co Group.

      32.    R&CoINC is registered with the Financial Industry Regulatory

Authority (FINRA) as a broker-dealer and provides a full range of corporate finance,

financial advisory and general investment banking services. R&CoINC has recently

worked for clients in the State of Georgia.




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      33.    R&CoAM provides financial asset management services, including

managed funds, to institutional clients, pension funds, and high net worth individuals

and families. R&CoAM currently provides services to clients in the State of

Georgia.

      34.    In 1987, Rothschild North America Inc., which is a member of the

Rothschild & Co Group, became the holding company for the Rothschild & Co

Group’s United States financial services operations, and is the immediate parent

entity of R&CoINC and R&CoAM.

      35.    In 2018, the corporate names of the United States plaintiffs were

changed as follows: (a) Rothschild North America Inc. to Rothschild & Co North

America Inc. (R&CoNA); (b) Rothschild Inc. to Rothschild & Co US Inc.

(R&CoINC); and (c) Rothschild Asset Management Inc. to Rothschild & Co Asset

Management US Inc. (R&CoAM). In 2019, the corporate name of Rothschild

Continuation Holdings AG was changed to Rothschild & Co Continuation Holdings

AG.

      36.    Plaintiff R&CoCH, a Swiss joint stock company, was established in

1982 by members of the Rothschild Family to ensure the continuation of the

Rothschild Family financial services activities. It holds a 100% direct or indirect

interest in the other plaintiffs. R&CoCH is the registered owner of the United States

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trademark registrations for ROTHSCHILD and ROTHSCHILD & CO, as set forth

below, and has licensed the other Rothschild & Co Plaintiffs to use those marks.

      37.    Prior to the Sklarov Defendants’ first use of “Bentley Rothschild” and

their other infringing activities described herein, the Rothschild & Co Plaintiffs had

adopted and extensively used the marks ROTHSCHILD, ROTHSCHILD & CO,

ROTHSCHILD NORTH AMERICA, ROTHSCHILD & CO NORTH AMERICA,

ROTHSCHILD INC., ROTHSCHILD & CO US INC., ROTHSCHILD ASSET

MANAGEMENT INC., ROTHSCHILD & CO ASSET MANAGEMENT US INC.,

and other marks incorporating “ROTHSCHILD” and “ROTHSCHILD & CO,” in

connection with their financial services offered and provided in interstate commerce

in the United States (collectively, the “ROTHSCHILD Marks”).

      38.    As a consequence of the Rothschild & Co Group and the Rothschild &

Co Plaintiffs’ activities, an unparalleled reputation and extraordinary goodwill have

attached to the ROTHSCHILD Marks. The ROTHSCHILD Marks have thereby

acquired distinctiveness, fame and secondary meaning in connection with the

provision of financial services and advice and, in the United States, have come to be

associated with the financial services businesses of R&CoINC and R&CoAM.

      39.    In recognition of the value and importance of the foregoing trademark

rights, the Rothschild & Co Group have rights in United States federal trademark

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registrations for the ROTHSCHILD word mark (U.S. Reg. No. 3447667) covering

various financial and financial business services in International Classes 035 and

036, and for the ROTHSCHILD & CO word mark (U.S. Reg. No. 5614371) covering

various financial and financial business services in International Classes 035 and

036 (the “ROTHSCHILD Registrations”). R&CoCH is the registered owner of the

ROTHSCHILD Registrations, and use thereof in the United States is licensed by

R&CoCH to R&CoNA, R&CoINC and R&CoAM. True and correct copies of the

ROTHSCHILD Registrations are attached as Exhibit B.

      40.    As a further consequence, when a new financial business uses

“Rothschild” as part of a corporate name or mark, and claims to be associated with

or functioning in the tradition of the “Rothschild dynasty,” this will be understood

by potential consumers of financial services that a founder or leader of the company

is a member of the Rothschild Family and that the business is associated with the

Rothschild & Co Group.

Sklarov’s History of Fraudulent and Bad-Faith Activities

      41.    Defendant Sklarov is a convicted felon who served a prison sentence

for federal crime. In USA v. Sklarov, et al., 97-cr-00176 (DJL) (W.D. Pa.), the court

convicted Sklarov of Medicare fraud and money laundering, and sentenced him to

serve a year and a day in federal prison, supervised release, and payment of a fine.

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A true and correct copy of the docket in this case, showing the conviction, is attached

as Exhibit C.

      42.    This felony conviction did not deter Sklarov from using entities he

controls to engage in other fraudulent and bad-faith activities.

      43.    For example, Sklarov, using his controlled company Am LLC,

attempted to operate as “New York Services Enterprise,” whose initials were

“NYSE,” the same as the New York Stock Exchange’s registered NYSE trademark.

Sklarov, using Am LLC, registered a host of domain names incorporating “nyse”

without consent of the New York Stock Exchange. The New York Stock Exchange

initiated a Uniform Domain Name Procedure under ICANN rules to recover these

domain names. By a decision dated October 23, 2017, an arbitrator issued a decision

finding that Sklarov and Am LLC had registered these domain names in bad faith

and directed that they be transferred to the New York Stock Exchange. A true and

correct copy of this decision is attached as Exhibit D.

      44.    Sklarov and/or his controlled entities are also defendants in civil actions

alleging that they have engaged in fraudulent activities. In March 2019, a complaint

was filed in the Supreme Court of the State of New York, County of New York,

against Sklarov, BRF, Am LLC, AM Ltd, and other entities. The complaint alleged

that they had engaged in a stock loan fraud scheme in connection with shares of

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NASDAQ-traded stock owned by the plaintiff. Satterfield v. VStock Transfer, LLC

et al., No. 650311/2019 (N.Y. Sup. Ct. Jan. 16, 2019) (Satterfield).         A true and

correct copy of the complaint filed in that action attached as Exhibit E.

      45.      The plaintiff in Satterfield alleged that he owned two million shares

of a publicly traded company, and that because the shares were restricted, he sought

to obtain a loan with the shares as collateral. He was introduced to Sklarov as a

potential lender, but was not told that Sklarov had served time in federal prison for

felonies or that Sklarov was being sued in other actions claiming that he and his

entities committed fraud in connection with stock loan transactions.

      46.    The Satterfield plaintiff further alleged that Sklarov represented to him

that as part of the loan terms, the plaintiff’s shares would not be transferred, and that

as a result of this and other assurances, the plaintiff agreed to enter into a Master

Loan Agreement with Am LLC and transferred his shares, some of which were

unrestricted. The complaint alleges that even before the loan was closed, Sklarov,

using BRC SK, “dumped” these shares, driving the price of the company’s shares

down, and then issued a margin call to the plaintiff demanding more shares as

collateral. It further alleges that Sklarov continued to sell shares using BRC SK,

despite the court putting a temporary restraining order on such sales.                In




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consequence, the plaintiff alleges, over $1 million of his shares were sold and he

received only a loan of $66,709.

      47.    In the Satterfield action, Sklarov and his entities claimed that the

plaintiff was party to a provision requiring him to arbitrate his claims in Nevis.

Following an evidentiary hearing, the New York Supreme Court rejected this claim,

stating that plaintiff “establishes with credible testimony a likelihood of success on

the merits that the Nevis arbitration provision is permeated with fraud,” and further

noting that “[d]ocumentary evidence corroborates that the MLA was amended to

avoid the SEC’s jurisdiction over the shares and transactions here which evidences

a fraudulent scheme.” See Dkt. 200 at p. 13. A true and correct copy of the June 20,

2019 Order (Dkt. 200) is attached as Exhibit F. Upon information and belief, the

Satterfield action is still pending.

      48.    In May 2018, three companies filed a Verified Petition in New York

State Supreme Court, seeking a temporary restraining order and preliminary

injunction in aid of an arbitration. The proceeding was captioned Fortunate Drift

Limited et al. v. America 2030 Capital, LLC, et al., No. 652158/2018 (N.Y. Sup. Ct.

May 2, 2018). A true and correct copy of the Verified Petition in that suit is attached

as Exhibit G.




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      49.    The Verified Petition alleged that one of the petitioners had entered into

a stock loan agreement with Am LLC, under which shares of a publicly listed

corporation were transferred to Am LLC, but Am LLC failed to provide the

promised loan funds. It further alleged that Sklarov, as president and CEO of Am

LLC, induced the plaintiffs to enter into the loan agreement. Am LLC began to sell

shares transferred to it but never provided any loan funds. It was alleged that AM

LLC “stole” 2 million shares from the petitioners.

      50.    This action was thereafter settled with Am LLC agreeing not to dispose

of the plaintiff’s stock. A true and correct copy of the Stipulation of Settlement is

attached as Exhibit H.

      51.    On or about June 6, 2019, Two Rivers Water & Farming Company

commenced a lawsuit in the United States District Court for the District of Colorado

against “America 2030 Capital Limited” (identified as organized “under the laws of

Nevis”) and “Bentley Rothschild Capital Limited” (identified as “incorporated under

the laws of the Bahamas”). Two Rivers Water & Farming Co. v. America 2030

Capital Limited et al., No. 19-cv-1640 (D.C. Col. Jun. 6, 2019). In the action, the

plaintiff alleged that it entered into stock loan agreements with the two entities, that

Sklarov is “President and CEO of both Defendants America 2030 Capital Limited

and Bentley Rothschild Capital Limited,” that the plaintiff thereafter learned about

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Sklarov’s criminal history and other wrongful acts, that Sklarov’s entities sought to

remove restrictions on the collateral shares so that they could be sold, and that

counsel for the entities claimed that plaintiff was in default under the agreement.

The complaint sought a declaratory judgment that the loan agreements were null and

void and a temporary restraining order and preliminary injunction against removing

restrictions on the collateral shares. A true and correct copy of the complaint filed

in this action is attached as Exhibit I. Upon information and belief, this action is

still pending.

      52.    These actions demonstrate that (a) Sklarov and his controlled entities

are engaged in a number of active schemes to defraud, some of which use a “Bentley

Rothschild” entity, and (b) those schemes are tarnishing the ROTHSCHILD Marks

and threatening the reputation of the Rothschild & Co Plaintiffs, since the victims of

the schemes or the public reading about the lawsuits against the Sklarov Defendants

may be deceived into the belief that the “Bentley Rothschild” entities are associated

in some way with the Rothschild & Co Plaintiffs.

The Sklarov Defendants’ Infringement of the ROTHSCHILD Marks.

      53.    Upon information and belief, Sklarov, acting through the Sklarov

Corporate Defendants, is providing and offering to provide financial and investment

services, including loans, using the BENTLEY ROTHSCHILD mark.                   Upon

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information and belief, no one named “Bentley Rothschild” or surnamed

“Rothschild” is associated with the business of any of the Sklarov Defendants.

      54.    The Sklarov Defendants are using the ROTHSCHILD Marks and

infringing variations thereof in the provision of financial services in a manner that

willfully infringes the trademark rights of the Rothschild & Co Plaintiffs and

misappropriates the goodwill associated with the Rothschild name in the financial

industry.

      55.     The Rothschild & Co Group promotes its financial services through

the Internet website www.rothschildandco.com. In July 2018, Sklarov, acting

through his alter egos Am LLC or Am LTD, registered the domain name

www.bentleyrothschild.com. A true and correct copy of the WHOIS report for

www.bentleyrothschild.com is attached as Exhibit J.

      56.    In May or June 2019, Sklarov, individually or through one of the

Sklarov Corporate Defendants, caused the website at www.bentleyrothschild.com

(the “Infringing Website”), which had previously been inactive, to “go live” with

content in which the infringing BENTLEY ROTHSCHILD mark is prominently and

repeatedly displayed in connection with the offering of financial and investment

services to customers throughout the United States. The infringing BENTLEY

ROTHSCHILD mark is prominently displayed on the banner of the Infringing

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Website and throughout its contents. A true and correct copy of a printout of the

home page of the Infringing Website as it existed when accessed and printed on July

8, 2019 is attached as Exhibit K.

      57.    As of July 8, 2019, the home page identified a New York address as the

main office of “Bentley Rothschild Capital Limited.” See Exhibit K at p. 5.

      58.    At some point thereafter, upon information and belief, the Sklarov

Defendants made a series of changes to the Infringing Website, apparently to evade

the litigation consequences of their own admissions. Between July 8, 2019 and July

18, 2019, the Sklarov Defendants changed the home page to identify as the main

office of “Bentley Rothschild Capital Limited” an address at 1201 W Peachtree

Street, Suite 2300, Atlanta, Georgia, 30309. A true and correct copy of the home

page of the Infringing Website as it existed when accessed and printed on July 18,

2019 is attached hereto as Exhibit L. The Sklarov Defendants may have made such

change due to the Satterfield litigation, wherein the version of the site identifying a

New York address may have been cited as a basis for exercising New York

jurisdiction over the defendants.

      59.    Between July 18, 2019 and July 30, 2019, the Sklarov Defendants again

changed the Infringing Website to reflect that its headquarters address is in Nevis.

A true and correct copy of all of the pages of the Infringing Website as it existed and

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was printed on July 31, 2019 is attached as Exhibit M. However, on the current

“Contact Us” page on the Infringing Website, the Sklarov Defendants continue to

represent that their USA office is in Atlanta, Georgia. See Exhibit M at p. 60.

       60.   The Infringing Website has a “Get In Touch” section that states “We

would love to hear from you!” and solicits consumers to fill out an online form with

their name, email address, and telephone phone number, and send a message that

can be submitted directly by clicking “Send Message.” See Exhibit M at p. 4.

       61.   The Infringing Website also provides an additional method of contact

by using the email address info@bentleyrothschild.com. See Exhibit M at p. 5.

       62.   According to the Infringing Website, “Bentley Rothschild Capital

Limited” purports to offer financial advisory services, including investment

management and advice, as well as financial asset management services for high net

worth individuals, and pension and other institutional accounts. See generally

Exhibit M.

       63.   “Bentley Rothschild Capital Limited” also purports to offer “Hassle-

Free    Stock    Loans”     via    the   Infringing    Website     at    the      page

http://bentleyrothschild.com/non-recourse-loans/ (last accessed July 31, 2019),

where consumers are solicited to click the “Get A Quote” hyperlink that links to the

page http://bentleyrothschild.com/non-recourse-loans/get-a-quote/ (last accessed

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July 31, 2019), an online form that consumers can fill out by entering, inter alia,

their name, telephone phone number, email address, and the requested loan amount,

and then submit the request directly by clicking “Submit.” See Exhibit M at pp. 32-

36.

      64.   The Sklarov Defendants have affirmatively made false and fraudulent

representations to actual and potential investors and borrowers that the Sklarov

Defendants’ “Bentley Rothschild” businesses are associated with the Rothschild

Family and are part of the “Rothschild Group of Companies.”

      65.   For example, on or about March 4, 2019, the Sklarov Defendants issued

a term sheet on behalf of “Bentley Rothschild Capital Limited” with the words

“BENTLEY ROTHSCHILD” prominently displayed across the top of the first page

and on the upper right corner of each following page, purporting to relate to a

“Bespoke Financial Product Collateralized Loan Term Sheet” (the “Infringing Term

Sheet”). A true and correct copy of the Infringing Term Sheet is attached as Exhibit

N.

      66.   In the Infringing Term Sheet, the Sklarov Defendants explicitly and

fraudulently claimed affiliation, association, connection, sponsorship, and/or

endorsement with the Rothschild Family and the Rothschild & Co Group. After




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providing a long statement as to the financial history of the Rothschild Family, the

Infringing Term Sheet then followed with this statement:

              Rothschild family started offering securitized financing in
              the early part of the 19th century. Bentley Rothschild
              Capital Limited is honored to continue to engage in the
              tradition of global finance by offering loans against
              publicly traded securities for our high-net worth clients
              located throughout the world.         Our service is as
              exceptional now as it has been by the Rothschild dynasty
              during the past 250 years. (See Exhibit N, p. 2).

       67.    The same Infringing Term Sheet shows four purported addresses for

BRC GA and/or BRC SK, below which is displayed the legend “Rothschild Family

of Companies ©1986-2019 All Rights Reserved.” Upon information and belief, the

term “Rothschild Family of Companies” is intended to, and likely does, deceive the

public into believing that the “Bentley Rothschild” entities are part of the Rothschild

& Co Group, and are affiliated, associated, or connected with the Rothschild & Co

Plaintiffs.

       68.    The Infringing Term Sheet identifies BRC GA as having an address at

1201 Peachtree Street, Suite 2300, Atlanta, Georgia, 30309. See Exhibit N, p. 5.

       69.    In addition, the Sklarov Defendants have been actively promoting the

infringing BENTLEY ROTHSCHILD marks to potential business borrowers and

others in the financial world, including in Georgia and throughout the United States.



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        70.        For example, on or about January 12, 2019, defendant Am Ltd issued a

press release announcing stock financing in the United States and other countries.

This release attributes statements to Sklarov, identified as “CEO and Operations

Manager of America 2030 Capital Ltd.,” concerning stock loans, and contains the

statement: “The firm is utilizing Bentley Rothschild Capital Ltd. of Nevis and

Bahamas to structure and find several of its global stock loan transactions. The

executives at America 2030 Capital believe that the Bentley Rothschild name will

be a major player in structuring and finding publicly traded companies and its major

shareholders for years to come. Its resources are capable of underwriting and finding

loans         in      the    hundreds      of        millions   of   USD.”         See

http://www.digitaljournal.com/pr/4105848#ixzz5iByJFjPk (last accessed July 18,

2019). A true and correct copy of a print-out of this website is attached as Exhibit

O.

        71.        To further this fraudulent and infringing scheme, Sklarov, acting

through Black Rock, another entity he controls and directs, has applied to the

USPTO to register the mark BENTLEY ROTHSCHILD as a United States

trademark, using the identical description of services that is provided in the

registration for the ROTHSCHILD mark. See Exhibit A.




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      72.    Jaitegh Singh of Singh Law Firm, P.A. is an attorney who has

represented Sklarov and certain Sklarov Corporate Defendants in connection with

the Rothschild & Co Group’s demands that Sklarov cease his infringing activities.

On or about June 3, 2019, Mr. Singh signed and caused to be filed the ‘938

Application with the USPTO on behalf of Defendant Black Rock as “General

Counsel” of that entity, seeking to register the trademark BENTLEY

ROTHSCHILD in connection with various financial services in International Class

036. See Exhibit A.

      73.    Upon information and belief, Black Rock is controlled and operated by

Sklarov, and, upon information and belief, Mr. Singh and Black Rock were acting

as agents of, and/or pursuant to the instruction of, Sklarov, when Mr. Singh signed

and filed or caused to be filed the ‘938 Application.

      74.    The description of International Class 036 services claimed in the ‘938

Application reads as follows:

             Financial services, namely, advising corporations on debt
             and financial restructuring, bankruptcy reorganization and
             divestitures, namely, sales of entities and their stock and
             assets; strategic planning and capital raising for
             corporations, start-ups, emerging companies, private
             equity fund and other similar corporate entities; stock
             loans; arranging financing for start-ups, emerging
             companies, private equity funds and other similar
             corporate entities; merchant banking; investment banking;
             underwriting, namely, underwriting offers of securities as
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            manager, co-manager or syndicate member; private
            placements; investment management and advice; financial
            consultancy, planning, research and appraisal of corporate
            entities; financial evaluation and other wealth
            management services, namely, for high net worth
            individuals, for pension and other institutional accounts;
            trading and dealing in stocks, securities and other financial
            products, namely, bonds and advisory services relating
            thereto; brokerage and dealer services in the field of stocks
            and securities; providing financial news and information
            via a global communication network; financial investment
            and financial advisory services in the field of real estate;
            leasing of real estate; real estate acquisition services; real
            estate appraisal; real estate equity sharing, namely,
            managing and arranging for co-ownership of real estate;
            and real estate investment and real estate management

      75.   This description of financial services was apparently copied and pasted

from the description of services contained in the Rothschild & Co Group’s U.S. Reg.

No. 3447667 for ROTHSCHILD (see Exhibit B), which reads as follows:

            Financial services, namely, advising corporations on debt
            and financial restructuring, bankruptcy reorganization and
            divestitures, namely, sales of entities and their stock and
            assets; strategic planning and capital raising for
            corporations, start-ups, emerging companies, private
            equity fund and other similar corporate entities; arranging
            financing for start-ups, emerging companies, private
            equity funds and other similar corporate entities; merchant
            banking; investment banking; underwriting, namely,
            underwriting offers of securities as manager, co-manager
            or syndicate member; private placements; investment
            management and advice; financial consultancy, planning,
            research and appraisal of corporate entities; financial
            evaluation and other wealth management services,
            namely, for high net worth individuals, for pension and
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             other institutional accounts [ ; trading and dealing in
             stocks, securities and other financial products, namely,
             bonds and advisory services relating thereto; brokerage
             and dealer services in the field of stocks and securities;
             providing financial news and information via a global
             communication network; financial investment and
             financial advisory services in the field of real estate;
             leasing of real estate; real estate acquisition services; real
             estate appraisal; real estate equity sharing, namely,
             managing and arranging for co-ownership of real estate;
             and real estate investment and real estate management

      76.    The sole difference between the two descriptions is that “stock loans”

has been added to the identification of services in the ‘938 Application.

      77.    As of the date of this complaint, no action has been taken by the USPTO

in regard to the ‘938 Application, which has not yet been assigned to an examiner.

      78.    As alleged above, Sklarov, acting individually and through the Sklarov

Corporate Defendants, has used the BENTLEY ROTHSCHILD mark and the

“Rothschild Family of Companies” designation, and the claim that BRC GA and

BRC SK “continue to engage in the tradition of global finance” established by the

Rothschild Family and that their “service is as exceptional now as it has been by the

Rothschild dynasty,” in order to deceive potential consumers of financial services in

the United States into believing that (a) members of the Rothschild Family

participate in some manner in BRC GA, BRC SK, and BRF, (b) BRC GA, BRC SK,

and BRG are affiliated, associated, or connected with, or sponsored or endorsed by,


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the Rothschild & Co Plaintiffs and/or that they are owned or approved by members

of the Rothschild Family and/or the Rothschild & Co Group, and (c) BRC GA, BRC

SK, BRF, and other Sklarov Corporate Defendants are therefore trustworthy and

their services of high quality.     Such statements unlawfully and intentionally

misappropriate the substantial goodwill in the ROTHSCHILD Marks.

      79.     Upon information and belief, these infringements and false and

deceptive representations have deceived, and, unless enjoined, will continue to

deceive members of the public into doing business with BRC GA, BRC SK, and

other Sklarov Corporate Defendants, and to become victims of Sklarov’s fraudulent

schemes.

The Sklarov Defendants’ Refusal to Cease Their Infringing Activities
      80.    On April 2, 2019, after first becoming aware of the Sklarov Defendants’

unlawful and infringing activities, counsel for the Rothschild & Co Plaintiffs sent a

cease and desist letter to Sklarov and several of the other Sklarov Defendants. A

true and correct copy of this letter is attached as Exhibit P.

      81.    As of the date of the April 2, 2019 letter, the website that existed at the

domain www.bentleyrothschild.com was inactive and contained only a single page

displaying a statement in Ukrainian stating that the site was “ready to use.” See

Exhibit P at p. 3.


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      82.    By letter dated April 30, 2019, Jaitegh Singh responded, to the April 2,

2019 letter, representing himself to be counsel for Sklarov, BRC SK, and BRF. A

true and correct copy of this letter is attached as Exhibit Q.

      83.    In his letter, Mr. Singh represented that “(1) Any references to the

Rothschild family have been removed; (2) [his clients] will not transact in the United

States with regards to financial services and products; and (3) [his clients] will not

distribute any marketing materials directly or indirectly to any potential clients in

the United States.” See Exhibit Q at p. 1.

      84.    The promises made by Mr. Singh were false, because, as alleged above,

since the date of his letter Sklarov and the Sklarov Defendants have willfully

continued to expand their infringing activities within the United States, including,

without limitation:     (a) activating the Infringing Website, which claims a

headquarters address for BRC GA and BRC SK in Atlanta, and markets and offers

financial services to consumers in the United States; and (b) filing on June 3, 2019

the ‘938 App. for the word mark BENTLEY ROTHSCHILD in connection with

various financial services.

      85.    The Sklarov Defendants’ infringing conduct is knowing, willful,

intentional and malicious, as demonstrated by their continuing and expanding such




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wrongful conduct after receipt of the cease and desist letter from counsel for the

Rothschild & Co Plaintiffs.

      86.    The Rothschild & Co Plaintiffs have suffered irreparable injury from

the wrongful and infringing acts of the Sklarov Defendants, and will continue to

suffer such injury unless this Court enjoins such acts as prayed for below.

                                     COUNT I

             Federal Trademark Infringement under 15 U.S.C. § 1114
      87.    The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 86 of this Complaint as though fully set forth

herein.

      88.    The wrongful and infringing actions of the Sklarov Defendants have

caused and/or are likely to cause confusion or mistake, or to deceive consumers

regarding the source, sponsorship, and/or affiliation of the goods and/or services

offered and sold by the Sklarov Defendants, constituting infringement of the

ROTHSCHILD Registrations in violation of 15 U.S.C. § 1114.

      89.    The Rothschild & Co Plaintiffs have no adequate remedy at law

because the ROTHSCHILD Registrations are unique and represent to the public the

Rothschild & Co Plaintiffs’ identity, reputation, and goodwill, such that damages




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alone cannot fully compensate the Rothschild & Co Plaintiffs for the Sklarov

Defendants’ misconduct.

      90.    The actions of the Sklarov Defendants, if not enjoined, will continue.

The past and future irreparable injury to the Rothschild & Co Plaintiffs’ business

identity, goodwill, and reputation requires immediate and permanent injunctive

relief to prevent the Sklarov Defendants’ continued trademark infringement.

      91.    The Rothschild & Co Plaintiffs have suffered and will continue to suffer

damages in an amount to be proven at trial consisting of, among other things,

diminution in the value and goodwill associated with the ROTHSCHILD

Registrations, and injury to the Rothschild & Co Plaintiffs’ business and reputation,

as well as profit obtained by the Sklarov Defendants resulting from their trademark

infringement. The Rothschild & Co Plaintiffs are therefore entitled to injunctive

relief pursuant to 15 U.S.C. § 1116.

      92.    Pursuant to 15 U.S.C. § 1117, the Rothschild & Co Plaintiffs are

entitled to recover damages in amount to be determined at trial, profits made by the

Sklarov Defendants as a result of their infringing activities, and the costs of this

action. Furthermore, the actions of the Sklarov Defendants were undertaken

willfully and with the intention of causing confusion, mistake, or deception, making




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this an exceptional case entitling the Rothschild & Co Plaintiffs to recover additional

treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                     COUNT II

    Federal Unfair Competition and Infringement under 15 U.S.C. § 1125(a)
      93.    The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 92 of this Complaint as though fully set forth

herein.

      94.    The actions of the Sklarov Defendants as described above constitutes

federal unfair competition and trademark infringement in violation of 15 U.S.C.

§ 1125(a).

      95.    The Rothschild & Co Plaintiffs have no adequate remedy at law

because the ROTHSCHILD Marks are unique and represent to the public the

Rothschild & Co Plaintiffs’ identity, reputation, and goodwill, such that damages

alone cannot fully compensate the Rothschild & Co Plaintiffs for the Sklarov

Defendants’ misconduct.

      96.    The actions of the Sklarov Defendants, if not enjoined, will continue.

The past and future irreparable injury to the Rothschild & Co Plaintiffs’ business

identity, goodwill, and reputation requires immediate and permanent injunctive




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relief to prevent the Sklarov Defendants’ continued unfair competition and

trademark infringement.

      97.      The Rothschild & Co Plaintiffs have suffered and will continue to

suffer damages in an amount to be proven at trial consisting of, among other things,

diminution in the value and goodwill associated with the ROTHSCHILD Marks, and

injury to the Rothschild & Co Plaintiffs’ business and reputation. The Rothschild &

Co Plaintiffs are therefore entitled to injunctive relief pursuant to 15 U.S.C. § 1116.

      98.    Pursuant to 15 U.S.C. § 1117, the Rothschild & Co Plaintiffs are

entitled to recover damages in amount to be determined at trial, profits made by the

Sklarov Defendants as a result of their infringing activities, and the costs of this

action. Furthermore, the actions of the Sklarov Defendants were undertaken

willfully and with the intention of causing confusion, mistake, or deception, making

this an exceptional case entitling the Rothschild & Co Plaintiffs to recover additional

treble damages and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

                                    COUNT III

              Federal Trademark Dilution under 15 U.S.C. § 1125(c)
      99.    The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 98 of this Complaint as though fully set forth

herein.


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      100. The registered ROTHSCHILD and ROTHSCHILD & CO marks are

famous and highly distinctive, and are entitled to protection against dilution by

blurring or tarnishment.

      101. The actions of the Sklarov Defendants described above and

specifically, without limitation, their unauthorized use of trademarks that are

confusingly similar to the registered ROTHSCHILD and ROTHSCHILD & CO

marks in connection with fraudulent schemes in which consumers are deceived as to

the nature, origin, and quality of the financial and investment services, have injured

and will continue to injure the Rothschild & Co Plaintiffs’ business reputation, have

tarnished the distinctive quality of the Rothschild & Co Plaintiffs’ famous name and

marks, and have lessened the capacity of ROTHSCHILD and ROTHSCHILD & CO

to identify and distinguish the Rothschild & Co Plaintiffs’ services, in violation of

15 U.S.C. § 1125(c).

      102. As a result of the Sklarov Defendants’ dilution by tarnishment of the

ROTHSCHILD and ROTHSCHILD & CO marks, the Rothschild & Co Plaintiffs

have suffered substantial damages, as well as the continuing loss of the value

established by the Rothschild & Co Plaintiffs in their marks. The continuing loss of

value cannot be properly calculated and thus constitutes irreparable harm and an

injury for which the Rothschild & Co Plaintiffs have no adequate remedy at law.

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The Rothschild & Co Plaintiffs will continue to suffer irreparable harm unless this

Court enjoins the Sklarov Defendants’ dilution by tarnishment.

                                   COUNT IV

                       Violation of O.C.G.A. § 10-1-451(b)
      103. The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 102 of this Complaint as though fully set

forth herein.

      104. The ROTHSCHILD Marks are inherently distinctive. Additionally, the

Rothschild & Co Plaintiffs have promoted and used the ROTHSCHILD Marks in

Georgia and throughout the United States, and the trademarks thereby have acquired

distinctiveness, and are well-known symbols of the Rothschild & Co Plaintiffs’

services in Georgia and throughout the United States.

      105. The actions of the Sklarov Defendants described above and

specifically, without limitation, the Sklarov Defendants’ infringing use of

confusingly similar imitations of the ROTHSCHILD Marks, is likely to injure the

Rothschild & Co Plaintiffs’ business reputation and to dilute the distinctiveness of

the ROTHSCHILD Marks by eroding the public’s exclusive identification of these

distinctive, well-known trademarks, and otherwise lessen the capacity of the




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ROTHSCHILD Marks to identify and distinguish the Rothschild & Co Plaintiffs’

goods and services.

      106. The Sklarov Defendants’ actions demonstrate an intentional, willful,

and malicious intent to trade upon the goodwill associated with the ROTHSCHILD

Marks and to cause dilution of the ROTHSCHILD Marks to the substantial and

irreparable injury of the Rothschild & Co Plaintiffs.

      107. The Sklarov Defendants are causing and will continue to cause

irreparable injury to the Rothschild & Co Plaintiffs’ goodwill and business

reputation, and dilution of the distinctiveness and value of the ROTHSCHILD Marks

in violation of O.C.G.A. § 10-1-451(b). The Rothschild & Co Plaintiffs are therefore

entitled to injunctive relief against such acts.

                                      COUNT V

 State Unfair and Deceptive Trade Practices Under O.C.G.A. § 10-1-370 et seq.
      108. The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 107 of this Complaint as though fully set

forth herein.

      109. The actions of the Sklarov Defendants as described above, including

without limitation, their unauthorized use of confusingly similar imitations of the




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ROTHSCHILD Marks, constitutes deceptive trade practices under the Georgia

Uniform Deceptive Trade Practices Act, O.C.G.A. § 10-1-370 et seq.

      110. The actions of the Sklarov Defendants described above have caused

and/or are likely to cause substantial injury to the public and to the Rothschild & Co

Plaintiffs, and the Rothschild & Co Plaintiffs are entitled to injunctive relief and to

recover their damages, costs, and attorneys’ fees incurred as a result of such actions

and any profit obtained by the Sklarov Defendants as a result of such actions.

                                     COUNT VI

                  Unfair Competition Under O.C.G.A. § 23-2-55
      111. The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 110 of this Complaint as though fully set

forth herein.

      112. The actions of the Sklarov Defendants as described above, including

without limitation, their unauthorized use of confusingly similar imitations of the

ROTHSCHILD Marks with the intention of deceiving and misleading the public, are

causing and are likely to continue to cause confusion, deception, and mistake by

creating the false and misleading impression that the Sklarov Defendants’ financial

services is affiliated, connected, or associated with the Rothschild & Co Plaintiffs,

or has the sponsorship, endorsement, or approval of the Rothschild & Co Plaintiffs,


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when that is not the case. Such actions thus constitute unfair competition in violation

of O.C.G.A. § 23-2-55.

      113. The actions of the Sklarov Defendants described above have caused

and/or are likely to cause substantial injury to the public and irreparable injury to the

Rothschild & Co Plaintiffs, and the Rothschild & Co Plaintiffs are entitled to

injunctive relief and to recover their damages, costs, and attorneys’ fees incurred as

a result of such actions and any profit obtained by the Sklarov Defendants as a result

of such actions.

                                     COUNT VII

         Common Law Trademark Infringement and Unfair Competition
      114. The Rothschild & Co Plaintiffs repeat and reallege the allegations

contained within Paragraphs 1 through 113 of this Complaint as though fully set

forth herein.

      115. The actions of the Sklarov Defendants described above constitute

common law trademark infringement and unfair competition under the common law

of Georgia.

      116. The Sklarov Defendants acted with full knowledge of the Rothschild &

Co Plaintiffs’ use of and exclusive rights to use the ROTHSCHILD Marks and in




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blatant disregard of the likelihood of confusion of the public created by the Sklarov

Defendants’ activities.

      117. The Sklarov Defendants’ actions demonstrate an intentional, willful,

and malicious intent to trade on the goodwill associated with the ROTHSCHILD

Marks, and to mislead consumers, to the substantial and irreparable injury of the

Rothschild & Co Plaintiffs.

      118. Because of the Sklarov Parties’ acts, the Rothschild & Co Plaintiffs

have been damaged in an amount not yet determined or ascertainable.             At a

minimum, however, the Rothschild & Co Plaintiffs are entitled to injunctive relief,

an accounting of the Sklarov Defendants’ profits, damages, costs, and all other

remedies available based on common law trademark infringement. Further, in light

of the Sklarov Defendants’ willful, intentional, and malicious use of the

ROTHSCHILD Marks and confusingly similar imitations thereof, all done with the

specific intent to cause harm to the Rothschild & Co Plaintiffs and deceive the

public, and the need to deter the Sklarov Defendants from similar conduct in the

future, the Rothschild & Co Plaintiffs are entitled to punitive damages.

                              PRAYER FOR RELIEF
      WHEREFORE, the Rothschild & Co Plaintiffs respectfully pray for the

following relief against the Sklarov Defendants:


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        A.   A preliminary and permanent injunction enjoining the Sklarov

Defendants, their agents, servants, employees, representatives, and affiliates, and all

persons, firms, corporations, and other entities in active concert or participation with

them, or any of them, be preliminarily and permanently enjoined and restrained

from:

             1.     Using directly or indirectly, in any manner whatsoever, the

                    infringing     BENTLEY         ROTHSCHILD            marks,     the

                    ROTHSCHILD Marks, any other mark that is colorably similar

                    to any of the ROTHSCHILD Marks, and any mark that includes

                    the name or word “Rothschild” or any variant spelling thereof;

             2.     Using directly or indirectly, in any manner whatsoever, any trade

                    name or corporate name incorporating the word “Rothschild” or

                    any variant spelling thereof, or incorporating or registering any

                    entity with such a trade name or corporate name;

             3.     Using the domain name www.bentleyrothschild.com, and any

                    other domain name, URL, or email address that incorporates the

                    word “Rothschild” or any variant spelling thereof;

             4.     Engaging in any advertising, promotion, solicitation, or other

                    representation asserting that any defendant or any entity in which

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         any defendant is a director, officer, or shareholder are affiliated,

         connected, or endorsed in any way by the Rothschild & Co

         Plaintiffs, the Rothschild & Co Group, the Rothschild Family, or

         any business controlled by a member of the Rothschild Family;

   5.    Doing any other act or thing calculated or likely to cause

         confusion or mistake in the trade or the minds of the public, or to

         deceive actual or potential purchasers into believing that the

         Sklarov Defendants’ goods and services originate with any of the

         plaintiffs or are approved, licensed, or otherwise authorized by

         the Rothschild & Co Plaintiffs;

   6.    Registering or prosecuting any application to register BENTLEY

         ROTHSCHILD as a mark in the United States or in any other

         country;

   7.    Engaging in any other activity that constitutes unfair competition

         with respect to the Rothschild & Co Plaintiffs;

   8.    Aiding, abetting, or assisting any other person or entity in

         engaging in or performing any activities stated in paragraphs (1)-

         (7) hereof.




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      B.     That the Sklarov Defendants, within five (5) days after entry of

judgment, deliver up to counsel for the Rothschild & Co Plaintiffs for destruction,

all documents, including, without limitation, promotional and advertising materials,

cards, catalogs, displays, labels, packaging, letterheads and printed materials, and

containers bearing, displaying, or incorporating the infringing “BENTLEY

ROTHSCHILD” marks, or any other mark which is colorably similar to the

ROTHSCHILD Marks or which incorporates the word “Rothschild” or any variant

spelling thereof.

      C.     That the Sklarov Defendants cease operation of the Infringing Website,

and assign over to the Rothschild & Co Plaintiffs all right, title, and interest in and

to the registration of the domain name www.bentleyrothschild.com, and any other

domain name, URL, or email address that incorporates the word “Rothschild” or any

variant spelling thereof.

      D.     That each defendant be directed to file with this Court and to serve upon

counsel for the Rothschild & Co Plaintiffs within thirty (30) days of the service of

this Court’s injunction, a written report signed by said defendant, under oath, setting

forth in detail the manner in which said defendant complied with the injunction.

      E.     That the Sklarov Defendants be required to account to the Rothschild

& Co Plaintiffs for any and all profits derived by them from their acts of trademark

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infringement, unfair competition, dilution, and other claims asserted herein and that

the Rothschild & Co Plaintiffs to recover three times the damages sustained as a

result of the Sklarov Defendants’ wrongful acts, together with punitive damages and

interest as allowed by law.

      F.      That the Rothschild & Co Plaintiffs be awarded the costs and

disbursements of this action, including reasonable attorney’s fees.

      G.      That such other and further relief be granted as the Court may deem just

and proper.

      Dated: August 6, 2019


                                        DLA PIPER LLP (US)

                                        /s/ Delia Frazier
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                                  Rothschild & Co Asset Management US
                                  Inc.




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